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AT 8:30               M     UNITED STATES DISTRICT COURT
WILLIAM T. WALSH, CLERK        DISTRICT OF NEW JERSEY


    UNITED STATES OF AMERICA

                  v.
                                                        18 U.S.C. § 1344 and
    MARK ANDREOTTI                                      18 u.s.c. § 2


                                       INDICTMENT
                                       (Bank Fraud)

            The Grand Jury in and for the District of New Jersey, sitting at Newark,

    charges:

            1.    At all times relevant to this Indictment:

                  a.    Defendant MARK ANDREOTTI ("defendant ANDREOTTI")

    resided in or near Wyckoff, New Jersey, and maintained bank accounts in Nev.r

    Jersey and elsewhere.

                  b.    Metropolitan Title and Abstract, LLC ("Metropolitan"), was a

    licensed title insurance agency and settlement agency located in Rutherford,

     New Jersey. Defendant ANDREOTTI was the 99% owner and President of

     Metropolitan.

                  c.    Victim Bank #1 was a financial institution, as defined in

     Title 18, United States Code, Section 20.

                  d.    Victim Bank #2 was a mortgage lending business as defined

     in Title 18, United States Code, Section 27, and thus, a financial institution as

     defined in Title 18, United States Code, Section 20.


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                           The Bank Fraud Scheme

      2.    In or about January 2010, in Bergen County", in the District of New

Jersey, and elsewhere, defendant

                               MARK ANDREOTII

did knowingly execute and attempt to execute a scheme and artifice to defraud

financial institutions, namely, Victim Bank #1 and Victim Bank #2, and to

obtain money, funds, and property owned by and under the custody and

control of, those financial institutions by means of materially false and

fraudulent pretenses, representations, and promises, which scheme and

artifice was in substance as set forth herein.

                       Object of the Scheme to Defraud

      3.    The object of the scheme and artifice to defraud was for defendant

ANDREOTII to enrich himself by obtaining a loan from Victim Bank #2 under

false pretenses and by using those loan proceeds for his own purposes,

although he represented in the loan application that he would use the proceeds

to refinance a mortgage with Victim Bank # 1.

                Manner and Means of the Scheme to Defraud

      4.    It was part of the scheme and artifice to defraud that, on or about

July 9, 2009, defendant ANDREOTII and an individual ("Individual #1")

purchased a home located in Wyckoff, New Jersey (the "Wyckoff Residence").

      5.    It was further part of the scheme and artifice to defraud that, on or

about July 24, 2009, defendant ANDREOTII and Individual #1 executed a




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mortgage with Victim Bank # 1 for the Wyckoff Residence for approximately

$679,000 ("Mortgage #1").

      6.     It was further part of the scheme and artifice to defraud that, on or

about January 22, 2010, defendant ANDREOTII executed a mortgage with

Victim Bank #2 for the Wyckoff Residence for approximately $625,000

("Mortgage #2"), representing on loan documents that Mortgage #2 was for the

purpose of refinancing Mortgage # 1.

      7.     It was further part of the scheme and artifice to defraud that

defendant ANDREOTII directed that the funds from Mortgage #2 be wired to a

bank account in the name of Metropolitan that he controlled (the "Metropolitan

Account").

      8.     It was further part of the scheme and artifice to defraud that after

the funds from Mortgage #2 were deposited into the Metropolitan Account,

defendant ANDREOTII diverted the funds from the Metropolitan Account to

pay for other transactions unrelated to the refinancing of Mortgage # 1 on the

Wyckoff Residence, contrary to the representations he made on the loan

application for Mortgage #2.

      9.     It was further part of the scheme and artifice to defraud that

defendant ANDREOTII never recorded Mortgage #2.

      10.    As a result of defendant ANDREOTII's scheme and artifice to

defraud, defendant ANDREOTII defaulted on Mortgage # 1 and Mortgage #2.

      All in violation of Title 18, United States Code, Section 1344 and

Section 2.


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                            FORFEITURE ALLEGATION

      1.      The allegations contained in this Indictment are hereby realleged

and incorporated by reference for the purpose of noticing forfeiture pursuant to

Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

Code, Section 2461(c).

      2.      The United States hereby gives notice to defendant ANDREOTTI

that, upon his conviction of the offense charged in this Indictment, the

Government will seek forfeiture in accordance with Title 18, United States

Code, Section 981(a)(1)(C), and Title 28, United States Code, Section 2461(c),

which require any person convicted of any such offense to forfeit any property

constituting or derived from proceeds obtained directly or indirectly as a result

of such offense .

      .3.     If any of the above described forfeitable property, as a result of any

act or omission of defendant ANDREOTTI

      (1) cannot be located upon the exercise of due diligence;

      (2) has been transferred or sold to, or deposited with, a

            third person;

      (3) has been placed beyond the jurisdiction of the Court;

      (4) has been substantially diminished in value; or

      (5) has been commingled with other property which cannot be

subdivided without difficulty;




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it is the intent of the United States, pursuant to Title 21, United States Code,

Section 853(p), as incorporated by Title 28, United States Code, Section

2461 (c), to seek forfeiture of any other property of the defendant up to the

value of the forfeitable property described above.




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                                          FOREPERSON           .l
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PAULJ. FISI#tAN                '
United States Attorney




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